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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. 24-CR-0032 MV

FRANCISCO DIAZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on the government’s Motion in Limine to Preclude

Accusations of Government Misconduct. Doc. 28. The defense filed a Response [Doc. 46] and the

government filed a Reply [Doc. 47]. Having considered the briefs and relevant law, and being

otherwise fully informed, the Court finds that the motion is well-taken and will be granted.

                                            DISCUSSION

       The government asks the Court to enter an order excluding any allegations that DEA

Special Agents violated Mr. Diaz’s constitutional rights and caused emotional distress to him and

his family, and to exclude any evidence that the Government took too long to bring Mr. Diaz to

trial. Doc. 28 at 4–5. Mr. Diaz filed a response stating that he has no intention of making allegations

about the legality of the search warrant or the constitutionality of his statement at trial. Doc. 46 at

1. However, he preserves his right to cross-examine government witnesses regarding

inconsistencies or misrepresentations made in their reports, the search warrant, or in their

testimony. Id. at 2. He also reserves the right to question witnesses about the quality, integrity, or

bias of the government investigation. Id.

       At the pretrial conference held on February 12, 2024, the parties indicated that, based on

the defense’s representations, there was no dispute over the issues that may properly be introduced

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at trial. Specifically, the parties agreed that defense counsel would not raise arguments that Mr.

Diaz’s confession was coerced, that his family suffered emotional distress due to the actions of

DEA agents, or that security camera footage from Mr. Diaz’s home was lost due to the four-year

delay in bringing Mr. Diaz to trial. Hearing Transcript (“Hr’g Tr.”) at 70–71.1 Accordingly, the

Court granted the government’s motion at the hearing. Id. at 72:22–25.

       Additionally, the Court finds that defense counsel may cross-examine government

witnesses about the actions they took throughout the course of the investigation, but the scope of

cross-examination must be limited per counsel’s agreement at the pretrial conference. In United

States v. McVeigh, the Tenth Circuit held that generally, “the facts surrounding the government's

investigation may become relevant” only when they would affect the reliability of a particular

piece of evidence. 153 F.3d 1166, 1192 (10th Cir. 1992). In that same vein, evidence regarding the

actions of law enforcement throughout an investigation may also be relevant to show motive or

bias. United States v. Wilson, 605 F.3d 986, 1006–07 (D.C. Cir. 2010). In the instant case, defense

counsel noted that she intends to cross-examine government witnesses about the preservation of

evidence from the security cameras in Mr. Diaz’s home, but maintained that she will not allege

that the footage was lost due to the delay in bringing Mr. Diaz to trial. Hr’g Tr. at 71:19–25.

Furthermore, the government agreed that defense counsel can cross-examine witnesses about such

topics as the collection of fingerprint evidence or “plastic evidence bag handling.” H’rg Tr. at

70:1–3. It must be emphasized that this questioning would be relevant only if it affects the

reliability of evidence or shows the witness’s motive or bias.

       Ultimately, “the introduction of evidence should not be based on speculation, create unfair




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  The Court’s citations to the transcript refer to the court reporter’s original, unedited version; any
final transcripts may contain slightly different page and/or line numbers.
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prejudice, nor serve to confuse or mislead the jury.” United States v. Perrault, No. 17-02558-MV-

1, 2019 WL 1375666, at *2 (D.N.M. March 26, 2019). Thus, defense counsel’s cross-examination

regarding the investigation in this case must be in accordance with the parties’ prior agreement

and be either related to the reliability of certain evidence or be relevant to show a witness’s motive

or bias. Since the Court cannot, at this point, assess the relevance of any potential cross-

examination by defense counsel, the Court will take up specific objections at trial.

       IT IS THEREFORE ORDERED THAT the government’s Motion to Preclude

Allegations of Government Misconduct [Doc. 28] is granted and the Court will address specific

objections to cross-examination at trial.



ENTERED this 22nd day of February 2024.



                                                _______________________________
                                                MARTHA VÁZQUEZ
                                                SENIOR UNITED STATES DISTRICT JUDGE




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